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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION


RAYMOND T. MAHLBERG,

                   Plaintiff,

v.                                                      Case No: 6:20-cv-1879-Orl-37EJK

THE HAAGEN-DAZS SHOPPE
COMPANY INC.,

                   Defendant.


                                ORDER OF DISMISSAL

      This cause is before the Court upon the Plaintiff’s Notice of Settlement (Doc. 18)

indicating that this case has settled. Accordingly, it is ORDERED AND ADJUDGED:

      1.     That the above-styled cause is hereby DISMISSED WITH PREJUDICE,

            subject to the right of any party to move the Court within sixty (60) days

            thereafter for the purpose of entering a stipulated form of final order or

            judgment; or, on good cause shown, to reopen the case for further

            proceedings.

      2.    All pending motions are denied as moot and all deadlines and hearings are

            terminated.

      3.    The Clerk is DIRECTED to close this file.

      DONE AND ORDERED in Chambers in Orlando, Florida, on December 9, 2020.
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Copies to:
Counsel of Record
